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                                      EXHIBIT B

 Objections To The Disclosure Statement Of Delphi Corporation And The Affiliate Debtors
                           Organized By Nature Of Objection
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                                       Objections To The Disclosure Statement Of Delphi Corporation And The Affiliate Debtors

                                                                     Organized By Nature Of Objection1

          OBJECTION                                OBJECTION ASSERTED                                                      RESOLUTION, RESPONSE ,OR PROPOSAL
          DOCKET NO.
                                                                I.       Objections to Adequacy of Disclosure
                                                                 Objections Related To Value Of Recoveries
1.       10802, 10803,     The Disclosure Statement contains inadequate information regarding The Disclosure Statement clearly states the basis for the valuation of the New
         10810, 11045,     recoveries based on the valuation of the Debtors.                      Common Stock, on which recoveries to stakeholders are based. Moreover, the
         11049                 • The Equity Committee states that the Disclosure Statement        Disclosure Statement contains a risk factor entitled "Value Of, And Market For,
                                                                                                  New Common Stock," which addresses the concerns raised by the objectors. The
                                    does not contain adequate information concerning the
                                                                                                  Disclosure Statement is not required to guarantee a certain value, and can only
                                    changes in the Debtors' valuation and the structure of        caution investors or voters to consider potential variation to the value ascribed to the
                                    shareholder recoveries as changed by the Plan and EPCA        New Common Stock. This caution is achieved not only through inclusion of a
                                    amendments.                                                   specifically targeted risk factor, but also through inclusion of Rothschild's range of
                               • The Ad Hoc Bondholder Group states that the Disclosure           potential values for the shares of New Common Stock. Based on the detailed
                                    Statement does not contain adequate information regarding     concerns raised by the objectors, they were apparently able to comprehend this
                                    the value of the New Common Stock and the potential           uncertainty. To the extent that the objectors disagree with the Debtors' asserted
                                    range of recoveries to holders of unsecured claims.           valuation, such concerns must be addressed in the context of confirmation, and not
                                                                                                  prior to this Court's approval of the Disclosure Statement. If such attacks were
                               • The Ad Hoc Trade Group alleges that the Plan provides for permitted, every Disclosure Statement hearing could potentially devolve into a
                                    a distribution of improperly valued.                          valuation dispute that is inappropriate at such a preliminary stage. The Debtors
                                                                                                        revised and expanded the Disclosure Statement's Executive Summary to more fully
                                                                                                        describe, among other things, the range of values attributable to the New Common
                                                                                                                                                                                           2
                                                                                                        Stock and the resulting impact on recoveries to creditors. See, e.g., DS-xix-xxii.




     1
         This chart reflects all objections entered on the docket as of 10:00 p.m. (Eastern Standard Time) on November 21, 2007.
     2
         Page references are to the Cumulative Disclosure Statement blackline, attached as Exhibit G to the Debtors' Reply.


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      OBJECTION                             OBJECTION ASSERTED                                                   RESOLUTION, RESPONSE ,OR PROPOSAL
      DOCKET NO.
2.   11048           The valuations set forth in the Disclosure Statement should be set        The Disclosure Statement makes clear that, for purposes of making
                     forth in terms of the Rothschild valuation using actual per share         distributions under the Plan, the equity value of the Reorganized Debtors to
                     valuations and actual valuations of the recoveries Unsecured              be distributed is equal to the Debtors' total enterprise value of $13.4 billion,
                     Creditors can expect to receive on a fully diluted basis. WTC also        less net debt and warrant value of approximately $5.3 billion, which results
                     states that the Disclosure Statement should state the "actual" value as   in a distributable equity value of $8.1 billion, or $61.72 per share of New
                     opposed to the Plan value of the stock and discount rights, and the       Common Stock based on 131,266,410 shares (assuming full conversion of
                     discussion of recoveries should be based on dollar values within the      the New Preferred Stock) issued and outstanding as of the Effective Date.
                     range.                                                                    This valuation procedure, which captures the actual intrinsic value of the
                                                                                               Reorganized Debtors, is more appropriate for determining and describing
                                                                                               distributions than valuation based on short-term trading prices. See, e.g.,
                                                                                               DS-xix-xxii, DS-132-33.
3.   10802, 10803,   The Disclosure Statement does not contain adequate information            The Disclosure Statement contains adequate information describing the
     11045           concerning the valuation of the Debtors.                                  Debtors' valuation and the process used for reaching the deemed Plan value
                         • Appendix D to the Disclosure Statement contains                     of the New Common Stock. The valuation contained in Appendix D to the
                             insufficient information regarding the valuation                  Disclosure Statement includes Rothschild's standard form of valuation
                             methodologies used by Rothschild.                                 analysis, and is the form typically used in most chapter 11 cases of this
                                                                                               nature. In addition, the Debtors have added additional disclosure describing
                                                                                               the range of potential recoveries to stakeholders, clarifying the differences
                                                                                               between Plan Equity Value and total enterprise value, as well as the
                                                                                               differences between market value and intrinsic value. See, e.g., DS-xix-
                                                                                               xxii.
4.   10803, 11045    The Disclosure Statement does not adequately disclose the treatment       Agreed. The Debtors have included additional disclosure regarding the
                     of intercreditor rights between the Senior Notes and the TOPrS.           operation of the Subordinated Indenture subordination provision, however,
                                                                                               the Debtors believe this objection is without merit based on the payment of
                                                                                               Senior Notes in full (including postpetition interest that has accrued during
                                                                                               the pendency of these chapter 11 cases). See, e.g., DS-190-91.
5.   10810           The Disclosure Statement does not disclose how the Debtors                Agreed. The Debtors have added disclosure explaining that the value of the
                     determined the value of the rights in the discount rights offering.       rights being offered in the Discount Rights Offering were negotiated among
                                                                                               the Plan Investors, GM, and the Debtors. The Discount Rights exercise
                                                                                               price was set at a market-clearing price to ensure that the Discount Rights
                                                                                               Offering would provide value to participating creditors. In addition, the
                                                                                               discount for the rights offering is within the range of discounts recently used
                                                                                               in other bankruptcy cases utilizing discount rights offerings. See, e.g., DS-
                                                                                               132-33.




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       OBJECTION                              OBJECTION ASSERTED                                             RESOLUTION, RESPONSE ,OR PROPOSAL
       DOCKET NO.
6.    10802           The Disclosure Statement does not discuss the basis for providing     The payment of a "par plus accrued" recovery to holders of General
                      postpetition interest to creditors.                                   Unsecured Claims was a fundamental principle of the framework
                          • The Equity Committee argues that any settlement with GM         agreements negotiated by GM, and the Creditors' Committee, and the
                                                                                            Debtors in the second half of 2006, and has been incorporated into the Plan
                                must fairly allocate the value of the settlement to all parties,
                                including the equity holders.                               that has been approved of and supported by GM and the Plan Investors. In
                                                                                            addition, the Debtors believe that this objection ignores case law holding
                                                                                            that junior classes cannot complain when senior classes receive postpetition
                                                                                            interest on their claims. See In re Coram Healthcare Corp., 315 B.R. 321,
                                                                                            344-45 (Bankr. D. Del. 2004) (plan's payment of postpetition interest on
                                                                                            claims is fair and equitable under section 1129(b)(2)). Nonetheless, the
                                                                                            Debtors have added disclosure to the Disclosure Statement explaining that
                                                                                            payment of par plus accrued to unsecured creditors has consistently been a
                                                                                            bedrock principle in negotiations with GM and the Creditors' Committee.
                                                                                            See, e.g., DS-42.
7.    10810           The Disclosure Statement should indicate the likelihood that the Plan The Disclosure Statement contains a section entitled "Confirmation Without
                      can be crammed down over the objection of senior creditors based on Acceptance Of All Impaired Classes: The 'Cramdown' Alternative" that
                      their objection to recoveries provided to MDL and TOPrS claimants. thoroughly discusses the requirements for cramdown under section 1129(b)
                                                                                            of the Bankruptcy Code. The Debtors are not required to assess the
                                                                                            potential of for any particular cramdown scenario as part of the Disclosure
                                                                                            Statement.
8.    10804, 10810,   The Disclosure Statement should disclose the dilution of unsecured    The Disclosure Statement contains a risk factor entitled "Potential Dilution
      11049           creditors due to claims in excess of the $1.45 billion cap.           Caused By Distribution Of New Common Stock With Respect To Trade
                           • The Ad Hoc Trade Group states that the Plan assumes that       And Other Unsecured Claims In Excess Of $1.45 Billion," which the
                                unsecured claims will total $1 billion instead of $1.45     Debtors believe is sufficient to describe such a potential risk. The Ad Hoc
                                billion.                                                    Trade Committee's calculations regarding the amount of general unsecured
                                                                                            claims confuses the definitions of "Trade and Other Unsecured Claims" and
                                                                                            "General Unsecured Claims." Trade and Other Unsecured Claims is defined
                                                                                            to include, among other things, Cure claims and the MDL claims, which the
                                                                                            Ad Hoc Trade Committee did not include in their calculation.
9.    10804           The Disclosure Statement fails to provide adequate information        Agreement on this date has been reached between the Debtors and the
                      regarding why the accrual of postpetition interest stops on January   stakeholders in connection with the restated Investment Agreement.
                      31, 2007.
10.   11048           The Disclosure Statement should state that creditors are entitled to  Agreed. The Debtors have revised the language in the Disclosure Statement
                      recoveries based on the allowed amount of their claims, not on the    to make clear that recoveries to creditors are based on the allowed amount
                      value of such claims, which may vary in the marketplace at any        of their claims. See, e.g., DS-189.
                      given moment.



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      OBJECTION                              OBJECTION ASSERTED                                                 RESOLUTION, RESPONSE ,OR PROPOSAL
      DOCKET NO.
                                 Objections Regarding Plan Investors, EPCA, EPCA Amendments And Related Negotiations
11.   10802, 10803,   The Disclosure Statement contains inadequate information regarding The Disclosure Statement contains an extensive discussion of the events
      11028, 11049    the terms of the Plan Investors' investment and the negotiation of the leading up to the initial Investment Agreement in January 2007, the second
                      EPCA amendments.                                                       Investment Agreement in August of 2007, and the later proposed
                                                                                             amendments to that agreement. The Debtors believe that the discussion
                                                                                             contained in the Disclosure Statement is adequate.
12.   10802           The Disclosure Statement does not contain adequate information         Although the Debtors believe the recoveries are described in adequate detail
                      concerning the process by which the Plan changes were negotiated       and that the current description of events provides stakeholders with enough
                      and the good faith of those negotiations.                              information to cast a vote regarding the Plan, in further resolution of this
                                                                                             objection, the Debtors have added disclosure detailing the negotiation of the
                                                                                             amendment to the Investment Agreement. The Debtors dispute, however,
                                                                                             the allegations of lack of good faith in negotiations. There is not a scintilla
                                                                                             of evidence that the Investment Agreement amendments, and the
                                                                                             corresponding Plan changes, were not negotiated in good faith. Delphi's
                                                                                             board of directors was guided by the investments that GM and the Plan
                                                                                             Investors were willing to make in the Debtors to fund the Plan. GM and
                                                                                             Appaloosa are contributing billions of dollars to the Debtors' reorganization,
                                                                                             and because of their investments GM and the Plan Investors are requiring
                                                                                             that certain terms of the Plan and Investment Agreement be acceptable to
                                                                                             them. See, e.g., DS-129-32.
13.   10810, 11049    The Disclosure Statement should disclose the amount of claims held The Debtors added language to the Disclosure Statement providing the
                      by the Plan Investors.                                                 holdings of certain Plan Investors as publicly disclosed under Rule 2019 of
                           • Wilmington Trust Company states that the Disclosure             the Bankruptcy Code and Form 13-D. No further disclosure is required or
                               Statement should state the amount of additional recovery by appropriate. See, e.g., DS-129.
                               the Plan Investors due to the satisfaction of the Senior
                               Notes' subordination right, and the discussion of any
                               negotiations the Debtors have had with the Plan Investors
                               concerning the subordination rights.
                           • The Ad Hoc Trade Group states that the Disclosure
                               Statement should explain which Plan provisions were
                               inserted for the Plain Investors' benefit as claimholders.




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       OBJECTION                             OBJECTION ASSERTED                                                 RESOLUTION, RESPONSE ,OR PROPOSAL
       DOCKET NO.
14.   11045           The Disclosure Statement does not adequately disclose the allegedly       The Debtors have added additional disclosure regarding the involvement of
                      conflicting interests of Appaloosa and GM.                                GM and Appaloosa in Delphi's reorganization. Although the Disclosure
                                                                                                Statement explains at great length the interconnected relationship of Delphi
                                                                                                and GM and the role of Appaloosa in the Debtors' reorganization, the
                                                                                                Debtors do not agree with the assertion that GM and Appaloosa have any
                                                                                                conflicting interests. To the contrary, GM and the Plan Investors will
                                                                                                together contribute billions in value to the Debtors' reorganization. As a
                                                                                                result of these contributions and their agreements with the Debtors, GM and
                                                                                                the Plan Investors obtained the right to approve the Plan, and the Plan
                                                                                                proposed by the Debtors has been approved by GM and the Plan Investors.
                                                                                                See, e.g., DS-42, DS-60.
                                                              Objections Related To Settlements
15.   10802, 10803,   The Disclosure Statement does not provide adequate disclosure             The Disclosure Statement contains more than 30 pages of discussion of the
      11045           regarding the value of the Debtors' claims against GM and the GM          GM claims and settlement (approximately 10% of the Disclosure
                      settlement.                                                               Statement). Moreover, the GM agreements are appended to the Plan as
                                                                                                exhibits. The Liquidation Analysis attached as Exhibit E to the Disclosure
                                                                                                Statement presents the Debtors' reasonable view that the return from any
                                                                                                litigation against GM (including claims based in RICO) would be highly
                                                                                                speculative. The Debtors, in their business judgment, decided that the value
                                                                                                of the Debtors' businesses would be higher based on a settlement with GM,
                                                                                                rather than converting the Debtors' estates into a litigation trust for
                                                                                                resolution of the GM claims. In addition, the Debtors have added disclosure
                                                                                                regarding GM's estimate of the amount of its claim. See, e.g., DS-60.
16.   10802           The Disclosure Statement does not include adequate information            The Disclosure Statement contains adequate discussion of the MDL
                      with respect to the bases of the various claims asserted in the various proceedings, the causes of action asserted by the MDL plaintiffs, and the
                      MDL proceedings, the Debtors' assessment of the liability of each of settlement between the MDL plaintiffs and the defendants in the MDL
                      Delphi, its officers, and directors, and the benefits insiders, including action. In addition, the MDL Settlements which were mediated by a former
                      certain officers and directors, are receiving as a result of the MDL      federal judge and preliminarily approved by the United States District Court
                      Settlement.                                                               in the Eastern District of Michigan, are attached to the Plan as an exhibit.
17.   10803, 11045,   The Disclosure Statement does not provide adequate information            The Disclosure Statement contains adequate discussion of the MDL
      11048           regarding the MDL Settlement, including the impact on senior              proceedings, the causes of action asserted by the MDL plaintiffs, and the
                      creditors.                                                                settlement between the MDL plaintiffs and the defendants in the MDL
                           • Wilmington Trust Company asserts that the Disclosure               action. In addition, the MDL Settlements which were mediated by a former
                               Statement should explain why the lead plaintiffs are critical federal judge and preliminarily approved by the United States District Court
                               stakeholders in the Debtors' restructuring.                      in the Eastern District of Michigan, are attached to the Plan as an exhibit.




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       OBJECTION                             OBJECTION ASSERTED                                                   RESOLUTION, RESPONSE ,OR PROPOSAL
       DOCKET NO.
18.   10810           The Disclosure Statement does not disclose recoveries to senior           The Disclosure Statement is not required to describe any potential plan
                      creditors if the MDL settlement is not approved and the intercreditor     scenario, it is merely required to accurately describe the current proposal.
                      subordination is fully effectuated.                                       Moreover, because the senior creditors will be paid in full at a par plus
                                                                                                accrued recovery at Plan value, this objection will be moot.
                                                                  Other Disclosure Related Objections
19.   10802, 10803,   The Disclosure Statement does not provide adequate information            The Debtors have reserved their rights with respect to substantive
      10810, 11045,   regarding the reasons for the Debtors' substantive consolidation.         consolidation. The Disclosure Statement is not required to set forth all
      11048                • The Equity Committee asserts that the Disclosure Statement possible bases for substantive consolidation. The Disclosure Statement
                                should include, among other things, extensive information       adequately explains the nature of the substantive consolidation the Debtors
                                related to each of the Debtors' estates, unconsolidated         will seek if they elect to pursue substantive consolidation. A stakeholders'
                                liquidation analyses, and additional discussion of facts and    standing in these cases to be heard on certain Plan related confirmation
                                circumstances supporting the Debtors' position on               issues will be determined by the Bankruptcy Court if and when appropriate.
                                substantive consolidation.                                      It is the Debtors' position, however, that an unimpaired claim or interest
                           • The Disclosure Statement should state that all parties-in-         holder would have no basis on which to object to substantive consolidation.
                                interest have a right to object to substantive consolidation of The Debtors have added language to the Disclosure Statement describing
                                the Debtors.                                                    the relevant objectors' position with respect to substantive consolidation.
                                                                                                See, e.g., DS-xxiv, DS-245.
20.   10802, 10803    The Disclosure Statement does not provide a satisfactory explanation The Disclosure Statement describes the third party releases to be provided
                      for the third party releases granted under the Plan.                      by the Plan, and is not required to set forth an explanation with respect to
                           • The Equity Committee asserts that the Debtors must                 the releases. If parties object to the proposed releases, those parties can vote
                                disclose each and every individual releases party's             against the plan and object to such releases in the context of the
                                (including each specific officer, director, and other released Confirmation Hearing. The Debtors have added language to the Disclosure
                                party) specific contribution to the reorganization.             Statement describing the relevant objectors' position with respect to the third
                           • The Ad Hoc Bondholders Group states that the Disclosure            party   releases granted under the Plan. See, e.g., DS-xxiv, DS-245.
                                Statement does not contain an adequate discussion of
                                releases granted and causes of action that may be released
                                under the Plan.
21.   10803, 11045,   The Disclosure Statement does not adequately discuss the Debtors'         The Disclosure Statement thoroughly sets out the exit financing planned by
      11048           exit financing plans.                                                     the Debtors on emergence, and the effect of this financing on the Debtors'
                                                                                                post-emergence capital structure. The Debtors filed a motion seeking
                                                                                                approval of exit financing arrangements prior to the hearing on the
                                                                                                Disclosure Statement, the Bankruptcy Court approved those arrangements
                                                                                                on November 16, and the Debtors have incorporated that information into
                                                                                                the Disclosure Statement.




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       OBJECTION                            OBJECTION ASSERTED                                                  RESOLUTION, RESPONSE ,OR PROPOSAL
       DOCKET NO.
22.   10804, 11034   The Disclosure Statement must be revised to reflect the Creditors'        The Debtors believe that the Creditors' Committee supports the Plan.
                     Committee's opposition to the Plan, and that the Plan cannot be
                     confirmed without the support of the class of General Unsecured
                     Claims.
23.   10810          The Disclosure Statement should disclose the dilution of unsecured        The Disclosure Statement contains a risk factor entitled "Potential Dilution
                     creditors due to the management compensation plan.                        Caused By Options Or Warrants" that specifically identifies such potential
                                                                                               dilution.
24.   10810          The Disclosure Statement does not disclose the circumstances under        The Debtors have explicitly reserved the right to modify the Plan prior to
                     which the Debtors would modify the Plan in accordance with 11             the Effective Date, and such modifications are governed by Section 1127 of
                     U.S.C. § 1127, ether before or after confirmation.                        the Bankruptcy Code and require no further discussion in the Disclosure
                                                                                               Statement.
25.   10810          The Disclosure Statement should set forth the facts that indicate an      Agreed. The Debtors have added a discussion of Event Risks to the
                     inability for the Debtors to survive as a going concern in a protracted   Executive Summary of the Disclosure Statement. See DS-xvii-xviii.
                     chapter 11 case while an amended plan is negotiated or litigated.
26.   11048          Certain events listed on the "Event Risk" description chart of the        The Event Risks set forth in the Disclosure Statement are those that may
                     Disclosure Statement should be deleted because Wilmington Trust           impact creditor recoveries negatively if the Debtors cannot emerge from
                     does not view certain of the events as worthy of disclosure or as         chapter 11 in a timely manner. The Debtors are unwilling to reduce the
                     detrimental to creditors.                                                 level of disclosure.
27.   11048          The Disclosure Statement should indicate with whom the Plan value         Agreed. The Disclosure Statement has been amended to make clear that the
                     has been negotiated.                                                      Plan value of distributions was originally negotiated by the Creditors'
                                                                                               Committee and GM during the framework discussion that took place during
                                                                                               the summer of 2006 (before the selection of any plan investor), and later
                                                                                               iterations have followed from these initial negotiations. See, e.g., DS-42.
28.   11049          The Disclosure Statement does not contain an adequate description         The Disclosure Statement provides an adequate and appropriate discussion
                     of the claims resolution process.                                         of the claims resolution process. The Disclosure Statement provides that the
                                                                                               aggregate asserted amount of all Trade And Other Unsecured Claims was
                                                                                               $1.55 billion as of November 25, 2007, and provides that the Debtors
                                                                                               estimate that the maximum potential allowed Trade And Other Unsecured
                                                                                               Claims will be reduced to no more than $1.45 billion by the Effective Date.
                                                                                               See DS-25.
29.   10794, 11022   The Lead Plaintiffs reserve their right to object if certain Disclosure
                     Statement issues are not resolved prior to the Disclosure Statement
                     hearing.
30.   10792          Letter from Sheryl Carter to the Bankruptcy Court, dated October 23,      A similar objection lodged by the objector prior to the September 28
                     2007, objecting to Delphi filing for bankruptcy.                          disclosure statement objection deadline was overruled by the Bankruptcy
                                                                                               Court at the October 3, 2007 hearing on the Disclosure Statement.


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       OBJECTION                         OBJECTION ASSERTED                                            RESOLUTION, RESPONSE ,OR PROPOSAL
       DOCKET NO.
31.   10795         Equity Committee Emergency Motion requesting that the Disclosure    The Disclosure Statement and EPCA hearings were continued to November
                    Statement hearing be adjourned, the EPCA hearing be adjourned,      29, 2007. The Notice of the ongoing hearing was sufficient and the
                    that new deadlines be fixed for objections to the Disclosure        Bankruptcy Rules do not require any further notices.
                    Statement and EPCA Motion, and that the hearing on the Disclosure
                    Statement be renoticed.




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      OBJECTION                             OBJECTION ASSERTED                                                 RESOLUTION, RESPONSE ,OR PROPOSAL
      DOCKET NO.
                                                               II.      Plan Confirmation Objections
                                                         Plan Classification, Treatment, And Distributions
32.   10803, 10810,   The Plan impermissibly classifies Senior Notes with the TOPrS.        This is a confirmation objection. However, contractually subordinated
      11017, 11045,       • The Ad Hoc Bondholders Group, Wilmington Trust, and             unsecured claims may be placed in the same class of senior and other
      11049                   the Ad Hoc Trade Group allege that claims in Class 1C are     unsecured claims. Courts have noted that under section 1122(a) the
                              not substantially similar because claims arising from senior "similarity of claims is not judged by comparing creditor claims inter se.
                              and subordinated unsecured debt are in the same class.        Rather, the question is whether the claims in a class have the same or
                          • Law Debenture asserts that the TOPrS should be placed in a similar legal status in relation to assets of the debtor." In re Frascella
                              different class to ensure that the votes of the TOPrS claims  Enterps., Inc., 360 B.R. 435, 443 (Bankr. E.D. Pa. 2007) (citing In re Piece
                              are not artificially diluted by the votes of holders of other Goods Shops Co., L.P., 188 B.R. 778, 788 (Bankr. M.D.N.C. 1995)); see
                              General Unsecured Claims.                                     also In re Union Financial Svcs. Group, 325 B.R. 816, 821 n.3 (Bankr. E.D.
                          • The Ad Hoc Bondholders Group alleges that the class 1C is       Mo.  2004) ("The fact that creditor's claim is subordinated to other class
                              based on an attempt to gerrymander the vote on the Plan.      members    does not change the fact that as between creditor and debtor the
                                                                                            claim is unsecured priority"); In re Eagle Bus Manufacturing, Inc., 134 B.R.
                                                                                            584, 595 (Bankr. S.D. Tex. 1991) ("The Plan's classification of the 11%
                                                                                            Junior Subordinated Note Claim, the 12½% Senior Subordinated Note
                                                                                            Claims and the 13% Senior Note Claims in GLI Class 7 with all other
                                                                                            Unsecured Claims is appropriate and proper under all relevant provisions of
                                                                                            the Bankruptcy Code.").
33.   10803, 11017,   The Plan impermissibly treats creditors within Class 1C differently.  This is a confirmation objection. The Plan's proposed treatment of the
      11045                                                                                 subordinated TOPrS and other general unsecured claims is also consistent
                                                                                            with section 1123(a)(4), which requires all members of a class to receive the
                                                                                            same treatment. Here, the Plan provides that all general unsecured
                                                                                            creditors, including holders of TOPrS, will receive New Common Stock and
                                                                                            Discount Rights valued at the full amount of their claims. The amount of
                                                                                            the claims of unsecured creditors, excluding TOPrS, will include
                                                                                            postpetition interest. Section 1123(a)(4) permits a plan to give senior and
                                                                                            subordinated creditors disparate distributions when based on an allocation
                                                                                            of distributions otherwise payable to the junior creditors to the senior
                                                                                            creditors. See In re Piece Goods Shops Co., L.P., 188 B.R. 778, 788
                                                                                            (Bankr. M.D.N.C. 1995) (allocation of subordinated creditors' distributions
                                                                                            to senior creditors in same class did not violate section 1123(a)(4)). Here,
                                                                                            the Plan has allocated the postpetition interest that the Debtors could fairly
                                                                                            and equitably pay to subordinated TOPrS (see "Absolute Priority And Other
                                                                                            Fair And Equitable Issues" above) to the senior creditors in that same class.
                                                                                            This treatment is consistent with section 1123(a)(4).



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       OBJECTION                            OBJECTION ASSERTED                                                  RESOLUTION, RESPONSE ,OR PROPOSAL
       DOCKET NO.
34.   10803, 11045   The Plan does not enforce the subordination agreement between the         This is a confirmation objection. Under the Plan, senior debt will be paid in
                     Senior Notes and the TOPrS.                                               full, and because of the payment in full, the subordination agreement is
                                                                                               being deemed satisfied. The Senior Notes are being paid principal plus
                                                                                               accrued postpetition interest under the terms of the Plan. In compliance
                                                                                               with the subordination agreement, Senior Notes and other general unsecured
                                                                                               claims are being paid par plus accrued, while the TOPrS will receive the
                                                                                               residual distributions available in the General Unsecured Claims class after
                                                                                               these distributions are made.
35.   10802          The Plan impermissibly provides senior unsecured creditors with           This is a confirmation objection related to the Debtors' valuation. The Plan
                     more than a par-plus-accrued recovery.                                    value of the New Common Stock in reorganized Delphi is $59.61 per share,
                          • The Equity Committee asserted that, based on a value of            although the Debtors' valuation contained in Appendix D to the Disclosure
                               $45.00 per share, unsecured creditors will receive a            Statement provides for a range of recoveries based on the per share price of
                               recovery in excess of "par plus accrued" and that the Plan is   equity.
                               consequently unconfirmable.
36.   10802, 11049   The Plan is unconfirmable due to the payment of postpetition            A fundamental concept of the Plan is that unsecured creditors will receive a
                     interest.                                                               "par plus accrued recovery at Plan value." The Equity Committee's
                          • The Equity Committee asserts that the Plan is                    objection ignores case law holding that junior classes cannot complain
                               unconfirmable because the Debtors will pay postpetition       when senior classes receive postpetition interest on their claims. See In re
                               interest to certain holders of unsecured claims.              Coram Healthcare Corp., 315 B.R. 321, 344-45 (Bankr. D. Del. 2004)
                          • The Ad Hoc Trade Group asserts that the Plan is                  (plan's payment of postpetition interest on claims is fair and equitable under
                               unconfirmable because claims in the same class are treated    section 1129(b)(2)). The Plan provides for the payment of postpetition
                               differently, where disputed claims would not receive          interest through the earlier of January 31, 2008 or the Confirmation Date.
                               postpetition interest.                                        Disputed claims will only be precluded from receiving post confirmation
                                                                                             interest during such time as the claim is disputed.
                                                                   Settlements Embodied In The Plan
37.   10802          The GM Settlement is not reasonable or appropriate and does not         The standard for approving a settlement as part of a Plan of reorganization
                     satisfy rule 9019.                                                      is whether the proposed settlement is fair and equitable, reasonable, and in
                          • The Equity Committee asserts that the Plan is                    the best interests of the Debtors' estates. The Debtors believe that the
                               unconfirmable because the Debtors' settlement with GM is      settlement with GM is well within the range of reasonableness and should
                               unreasonable in light of the Equity Committee's assertion     be approved by the Bankruptcy Court as part of the Plan.
                               that the Debtors' claims against GM are valued, in the
                               litigation context, at billions of dollars.




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       OBJECTION                            OBJECTION ASSERTED                                                 RESOLUTION, RESPONSE ,OR PROPOSAL
       DOCKET NO.
38.   10802          The treatment of section 510(b) equity claims violates the               This is a confirmation objection. The Debtors will seek final approval of
                     Bankruptcy Code.                                                         the MDL settlements at the time of the confirmation hearing. Moreover, if
                         • The Equity Committee asserts that the Plan impermissibly           the Court finds that General Unsecured Claims are paid par plus accrued at
                              distributes value to holders of claims arising from the MDL     Plan value, this objection will be rendered moot at the confirmation hearing.
                              litigation.                                                     Even if the Court does not so find, a substantial portion of the consideration
                                                                                              provided to section 510(b) equity claims is derived from the GM settlement
                                                                                              and is therefore not subject to the absolute priority rule.
                                                                Plan And Framework Negotiations
39.   11017, 11049   The Plan is unconfirmable if the holders of General Unsecured            This is a confirmation objection, based on the valuation of the Debtors. The
                     Claims vote against the Plan because claims in junior classes receive Disclosure Statement clearly states the basis for the valuation of the New
                     distributions even though General Unsecured Claims may not be            Common Stock, on which recoveries to stakeholders are based. To the
                     paid in full.                                                            extent that the Ad Hoc Trade committee disagrees with the Debtors' asserted
                                                                                              valuation, such concerns must be addressed in the context of confirmation,
                                                                                              and not prior to this Court's approval of the Disclosure Statement. If such
                                                                                              attacks were permitted, every Disclosure Statement hearing could
                                                                                              potentially devolve into a valuation dispute that is inappropriate at such a
                                                                                              preliminary stage. Moreover, if the Court finds that General Unsecured
                                                                                              Claims are paid par plus accrued at Plan value, this objection will be
                                                                                              rendered moot at the confirmation hearing.
40.   11034          The Plan based on the November 14 proposed amendments provides This is an objection to the amendment to the EPCA, and is inappropriate as
                     too much value to the Plan Investors, taking value from holders of       an objection to the Disclosure Statement.
                     General Unsecured Claims.
41.   11034          The Plan based on the November 14 proposed amendments provides This is a Plan objection raised by the Creditors' Committee. Moreover, if
                     for distributions in complete disregard to the absolute priority rule by the Court finds that General Unsecured Claims are paid par plus accrued at
                     providing distributions to contractually and statutorily subordinated    Plan value, this objection will be rendered moot at the confirmation hearing.
                     creditors and equity without regards to whether senior creditors have Even if the Court does not so find, a substantial portion of the consideration
                     been paid in full.                                                       provided to unsecured creditors is derived solely from the GM settlement
                                                                                              and is therefore not subject to the absolute priority rule.
42.   11049          The Plan is unconfirmable because it was not proposed in good faith. The Debtors believe that the Plan represents the best recoveries available for
                                                                                              all stakeholders. The Debtors dispute the allegations regarding lack of good
                                                                                              faith.
                                                                  Other Plan Related Objections
43.   11017          The Plan does not provide for the payment of postpetition fees and       The Plan provides for the payment of substantial contribution claims in
                     expenses of the TOPrS Indenture Trustee.                                 Article 10.4.




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       OBJECTION                             OBJECTION ASSERTED                                                 RESOLUTION, RESPONSE ,OR PROPOSAL
       DOCKET NO.
44.   10802, 10803,   The Plan provides no basis for substantive consolidation, and the       The Disclosure Statement discusses the Debtors' bases for substantive
      11045           proposed substantive consolidation is impermissible.                    consolidation. The Debtors are not required to fully brief the legal
                                                                                              standards for substantive consolidation in the Disclosure Statement, but will
                                                                                              do so in their brief in support of confirmation of the Plan.
45.   10802           The third party releases violate prevailing Second Circuit case law.    The releases granted to third parties are appropriate for this case and are
                           • The Equity Committee asserts that the Plan is not                reasonable under the standards established in Deutsche Bank AG v.
                               confirmable if it contains third party releases, and demands   Metromedia Fiber Network, Inc. (In re Metromedia Fiber Network, Inc.),
                               that the Debtors allow equity holders to "opt out" of the      416 F.3d 136, 141 (2d Cir. 2005).
                               releases.
                                                              III.     Solicitation Procedures Objections
46.   10810, 11048    Wilmington Trust requests that the Court fix the Voting Record Date The revised proposed order attached as an exhibit to the Debtors' omnibus
                      as the date of the order approving the Disclosure Statement and           reply proposes a new Voting Record Date of November 26, 2007. The Plan
                      requests that the Disclosure Statement indicate that the distribution     defines the Distribution Date as "the date, selected by the Reorganized
                      record date for holders of Senior Debt be the date of the                 Debtors, upon which distributions to holders of Allowed Claims and
                      commencement of distribution.                                             Allowed Interests entitled to receive distributions under this Plan shall
                                                                                                commence; provided, however, that the Distribution Date shall occur as
                      Wilmington Trust also states that the Discount Rights Offering            soon as reasonably practicable after the Effective Date, but in any event no
                      record date for holders of Senior Debt should be the date of entry of     later than 30 days after the Effective Date." The Distribution Date will
                      the order confirming the Plan.                                            accordingly be between the Effective Date and 30 days after the Effective
                                                                                                Date.

                                                                                              Wilmington Trust Company provides no basis for this objection, and instead
                                                                                              baldly states that the current record date "is likely to lead to confusion and
                                                                                              adversely affect the trading of the Senior Debt and the exercise of the
                                                                                              rights." If Wilmington Trust Company has a valid reason for such a change,
                                                                                              it should make that reason clear so that the Debtors can meaningfully
                                                                                              respond.




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DOCKET #   OBJECTING PARTY
 10792     Sheryl Carter
 10794     Lead Plaintiffs (November 2)
 10795     Equity Committee Emergency Motion
 10802     Equity Committee (November 2)
 10803     Ad Hoc Bondholders' Group (Goodwin Procter LLP) – Caspian Capital
           Advisors, LLC, Castlerigg Master Investments Ltd., Davidson Kempner
           Capital Management LLC, Elliot Associates, L.P., Gradient Partners, L.P.,
           Sailfish Capital Partners, LLC, and Whitebox Advisors, LLC (November 2)
 10804     Creditors' Committee (November 2)
 10810     Wilmington Trust (November 2)
 11017     Law Debenture Trust Company (November 21) (Not a "Potential Objector" as
           defined in Second Supplemental Scheduling Order (Docket No. 10864) and
           not an objector to October 29 Potential Amendments)
 11022     Lead Plaintiffs (November 21)
 11028     Equity Committee (November 21)
 11034     Creditors' Committee (November 21)
 11045     Ad Hoc Bondholders' Group (Goodwin Procter LLP)-- Caspian Capital
           Advisors, LLC, Castlerigg Master Investments Ltd., CR Intrinsic Investors,
           LLC (not a party to November 2 objection), Davidson Kempner Capital
           Management LLC, Elliott Associates, L.P., Nomura Corporate Research and
           Asset Management, Inc. (not a party to November 2 objection), Sailfish
           Capital Partners, LLC, And Whitebox Advisors, LLC (November 21).
           Gradient Partners, L.P. was a party to the November 2 objection, but is not a
           party to November 21 objection.
 11048     Wilmington Trust Company (November 21)
 11049     Ad Hoc Trade Committee (November 21)




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